
85 So. 3d 1187 (2012)
Sheldon GAYLE, Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-1714.
District Court of Appeal of Florida, Fifth District.
April 20, 2012.
James S. Purdy, Public Defender, and Michael S. Becker, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Douglas T. Squire, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
See Rodriguez v. State, 919 So. 2d 1252, 1278 (Fla.2005) (holding that litigants "have no right to have any particular judge hear their case").
AFFIRMED.
ORFINGER, C.J., MONACO and COHEN, JJ., concur.
